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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



IN RE:                                                       Civil Action 2:17-mc-23
                                                             Chief Judge Algenon L. Marbley
KEVIN BRIAN GUNNELL EL                                       Magistrate Judge Jolson




                              REPORT AND RECOMMENDATION

        Plaintiff, proceeding pro se, filed this action seeking declaratory and injunctive relief

against Franklin County Probate, Franklin County Common Pleas Probate Court, and Franklin

County Probate Clerk Robert G. Montgomery. (Id. at 2). While not entirely clear, Plaintiff’s

Complaint seems to be based on his allegations that he is a “Moorish American National,” who

has a right to retain gold taken allegedly taken from “the people” in 1933. (Id. at 3). He also

claims that Franklin County Probate Clerk Robert G. Montgomery committed “fraud and deceit”

“as asserted and confirmed by the Pope’s civil orders.” (Id. at 12).

        On September 27, 2019, this Court issued an order finding it unclear why Plaintiff filed

this case as a miscellaneous matter, which is an ancillary and supplementary proceeding related to

other cases filed in federal courts. (Doc. .4). The Undersigned observed that this action does not

appear to be related to another case filed in federal court, nor have similar actions been filed as

miscellaneous cases. (Id.). Thus, the Court ordered Plaintiff to show good cause within fourteen

days why this action should remain as a miscellaneous action and why he should not be charged

the full filing fee of $400. (Id.).

        After that deadline passed, on October 15, 2019, Plaintiff filed a response to the Show

Cause Order. (Doc. 5). In his response, Plaintiff contends that there is good cause for this case to

remain a miscellaneous action. (Id. at 2). He states:
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                The Pope’s laws are obligatory on this tribunal and per his the Pope’s orders
        he asserted: ‘All those (Estates and ESTATES erroneously believed to represent
        the American States and American State Citizens and which were conveyed by
        fraud and legal deceit to the United States of America (minor) and more recently to
        the City-State of the United Nations, are re-venued without exception to the
        geographically defined American States and the American State Citizens where
        they shall remain in perpetuity as assets belonging to the rightful and lawful
        beneficiaries.
                All legal fiction entities however structured and named after the American
        States and American State Citizens are returned to them and their control, free and
        clear of any dept, promise, encumbrance or obligation alleged against them as a
        result of false claims made—in their behalf by officers of the United States of
        America, Inc. and the UNITED STATES, INC. or by any foreign officials operating
        the United States of America (minor), or the United Nations City State falsely
        claiming to—represent them or have jurisdiction over them.’
                Plaintiff El Gunnell Kevin Brian cause of action was filed by the clerk under
        the civil action case @2:17-mc-23 because the affidavit contract Judicial Notice
        and Proclamation of Nationality was filed on May 1, 2017 with this tribunal and
        this case have everything to do with the cause of action injunction filed against Mr.
        Montgomery in the Probate Court, all other Federal cases are null and void ab initio
        per orders of Pope’s civil orders, this tribunal is to compel their rapid understanding
        and cooperation.
                The Judicial Notice and Proclamation of Nationality page two 2 first
        paragraph gives adverse claim to my El Gunnell property bank note-birth
        Certiciate, Estate Kevin Brian Gunnell as mentioned in the document. See Ohio
        Revised Code (ORC) 1307.103 UCC 7-103 and ORC 1309.311, UCC 9-311.
                Notwithstanding the Pope’s civil orders, Plaintiff El Gunnell Kevin Brian
        have on record, secure transactions contracts with the Ohio Secretary of State File
        #OH00161096702 document #201225400191 and on file with the county recorder.
        The Power of Attorney/Attorney-in-Fact, indemnity bond, Hold Harmless and
        Indemnity Agreement are valid enforceable contracts as to why Plaintiff El Gunnell
        Kevin Brian shall not be charged any filing fee of $400. There is special Numbers
        (Cusip and EIN) on the indemnity bond see documents attached.

(Id. at 5).

        Plaintiff has not shown good cause for maintaining this action as a miscellaneous case or

for his failure to pay the full filing fee. Plaintiff’s argument appears to reflect those made by

“sovereign citizen” litigants “who believe that the state and federal governments lack

constitutional legitimacy and therefore have no authority to regulate their behavior.” Baird v.

Ammiyhuwd, No. 1:16-CV-1152, 2017 WL 430772, at *2 (S.D. Ohio Jan. 31, 2017), report and



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recommendation adopted, No. 1:16CV01152, 2018 WL 3524465 (S.D. Ohio July 23, 2018)

(quotation marks and citation omitted). However, “[t]he notion that a person is a ‘sovereign

citizen’ and not subject to the laws of the United States has uniformly been rejected by the courts

as lacking any foundation in law.” Baird v. Ammiyhuwd, No. 1:16CV01152, 2018 WL 3524465,

at *2 (S.D. Ohio July 23, 2018) (quotation marks and citation omitted); see also Baird, 2017 WL

430772 at *2 (citing El-Bey v. City of Greensboro, No. 1:10-cv-291, 2010 WL 3242193, at *1

(M.D.N.C. Aug. 16, 2010), report recommendation adopted as modified, 2011 WL 255719

(M.D.N.C. Jan. 25, 2011) (“Plaintiff is among a group of individuals, sometimes referred to as

‘sovereign citizens,’ who claim to be immune from all state and federal laws by virtue of their

supposed identities as descendants of indigenous peoples and for other equally absurd reasons. By

now, the path of these litigants is well-traveled, as courts have repeatedly rejected their claims as

frivolous.”)).

        Accordingly, there is no basis in law for this case to remain pending as a miscellaneous

case nor is there a basis in law supporting Plaintiff’s refusal to pay the full $400 filing fee. A

litigant must either pay the filing fee, 28 U.S.C. § 1914(a), or submit an in forma pauperis

application with accompanying financial information, 28 U.S.C. § 1915(a). Plaintiff has failed to

do either, and it is therefore RECOMMENDED that this case be DISMISSED for failure to pay

the filing fee.

        IT IS SO ORDERED.


Date: October 17, 2019                                /s/ Kimberly A. Jolson
                                                      KIMBERLY A. JOLSON
                                                      UNITED STATES MAGISTRATE JUDGE




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